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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


FRANCIS SCHAEFFER COX,

                  Plaintiff,                             Case No: 3:18-cv-3367-B
v.

BENBELLA BOOKS, INC., at al

                  Defendants.




 PLAINTIFF’S OBJECTION TO PROPOSED ORDER ON DEFENDANT BENBELLA
   BOOKS, INC.’S MOTION TO SET FOR HEARING ITS MOTION TO DISMISS
       PURSUANT TO TEX. CIV. PRAC. & REM. CODE § 27.001, ET SEQ.


        Plaintiff Francis Schaeffer Cox (“Cox”) Plaintiff objects to the proposed order just

submitted without his consent to this honorable Court since it presumes that Tex. Civ. Prac. &

Rem. Code § 27.001 is applicable to this proceeding, which Plaintiff submits it is not as a matter

of law. This will be addressed in the pleadings and a cross motion for sanctions which will be

filed timely. Furthermore, counsel for Defendant was advised Plaintiff’s counsel has a very

heavy litigation schedule and therefore suggested that any hearing be held in May 2019. This

was not disclosed to the Court in Defendant’s filing.

Dated: March 25, 2019                                   Respectfully submitted,

                                                 /s/ Larry Klayman
                                                 Larry Klayman, Esq.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically and served through the court’s ECF system to all counsel of record or parties on

March 25, 2019


                                                   /s/ Larry Klayman




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